                                           1                      IN THE UNITED STATES DISTRICT COURT
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                                                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           4                                                No. C 09-00037 CW
                                               VIETNAM VETERANS OF AMERICA; SWORDS
                                           5   TO PLOWSHARES: VETERANS RIGHTS               ORDER ON DEFENDANT
                                               ORGANIZATION; BRUCE PRICE; FRANKLIN          CENTRAL INTELLIGENCE
                                           6   D. ROCHELLE; LARRY MEIROW; ERIC P.           AGENCY’S MOTION FOR
                                               MUTH; DAVID C. DUFRANE; TIM MICHAEL          JUDGMENT ON THE
                                           7   JOSEPHS; and WILLIAM BLAZINSKI,              PLEADINGS
                                               individually, on behalf of themselves        (Docket No. 245)
                                           8   and all others similarly situated,
                                           9                Plaintiffs,
                                          10      v.
For the Northern District of California




                                          11   CENTRAL INTELLIGENCE AGENCY; MICHAEL
    United States District Court




                                               J. MORRELL, Acting Director of
                                          12   Central Intelligence; UNITED STATES
                                               DEPARTMENT OF DEFENSE; DR. ROBERT M.
                                          13   GATES, Secretary of Defense; UNITED
                                               STATES DEPARTMENT OF THE ARMY; PETE
                                          14   GEREN, United States Secretary of the
                                               Army; UNITED STATES OF AMERICA; ERIC
                                          15   H. HOLDER, Jr., Attorney General of
                                               the United States; UNITED STATES
                                          16   DEPARTMENT OF VETERANS AFFAIRS; and
                                               ERIC K. SHINSEKI, UNITED STATES
                                          17   SECRETARY OF VETERANS AFFAIRS.
                                          18                Defendants.
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                                          20        Defendants Central Intelligence Agency and its Acting Director
                                          21   Michael J. Morrell (collectively, the CIA) move for judgment on the
                                          22   pleadings or, in the alternative, summary judgment.      The CIA
                                          23   noticed its motion for hearing on September 1, 2011 at 2:00 p.m.
                                          24        The Court will consider the CIA’s motion for judgment on the
                                          25   pleadings.    In ruling on the motion, the Court will review only
                                          26   Plaintiffs’ pleadings, which must be taken as true, and “documents
                                          27   attached to the complaint, documents incorporated by reference in
                                          28   the complaint, or matters of judicial notice.”    United States v.
                                           1   Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (citations omitted).
                                           2   The Court will not convert the motion to a motion for summary
                                           3   judgment.    The parties’ most recent stipulation extending case
                                           4   deadlines provides that all case-dispositive motions will be heard
                                           5   on April 5, 2012 at 2:00 p.m.    Docket No. 238, at 4:8.
                                           6   Accordingly, any further case-dispositive motion by either side
                                           7   will be heard on that date.
                                           8           If the parties desire to have dispositive motions heard sooner
                                           9   than April 5, 2012, they may file a stipulation setting an earlier
                                          10   date.    Alternatively, so long as it can present good cause, a party
For the Northern District of California




                                          11   may move to modify the case management scheduling order.    Fed. R.
    United States District Court




                                          12   Civ. P. 16(b)(4).
                                          13           IT IS SO ORDERED.
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                                               Dated: August 9, 2011
                                          15                                           CLAUDIA WILKEN
                                                                                       United States District Judge
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